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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  DAMON STRADWICK,

              Petitioner,

  v.                                              Civil Action No. 5:05CV192
                                           (Criminal Action No. 5:01CR30-01)
  UNITED STATES OF AMERICA,                                          (STAMP)

              Respondent.


                          MEMORANDUM OPINION AND ORDER
                        AFFIRMING AND ADOPTING REPORT AND
                       RECOMMENDATION OF MAGISTRATE JUDGE

                              I.    Procedural History

        Pro se petitioner Damon Stradwick filed a motion under 28

  U.S.C. § 2255 to vacate, set aside or correct a sentence by a

  person in federal custody. The government filed a response and the

  petitioner replied.          The matter was referred to United States

  Magistrate Judge James E. Seibert for initial review and report and

  recommendation       pursuant     to   Local   Rule   of   Prisoner   Litigation

  Procedure    83.15.         Magistrate    Judge   Seibert    issued    a   report

  recommending that the petitioner’s § 2255 application be denied

  because     in     his    plea    agreement     the   petitioner      knowingly,

  intelligently, and voluntarily waived the right to collaterally

  attack his conviction.           The magistrate judge informed the parties

  that if they objected to any portion of the report, they must file

  written objections within ten days after being served with copies

  of the report.           The time for objections has now passed and no

  objections have been filed to date.
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                              II.    Standard of Review

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review    of   any      portion   of   the   magistrate   judge’s

  recommendation to which objection is timely made.                    As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”               See Orpiano v. Johnson, 687

  F.2d 44, 47 (4th Cir. 1982); Webb v. Califano, 468 F. Supp. 825

  (E.D. Cal. 1979).         Because the petitioner did not file objections,

  this Court reviews the report and recommendation for clear error.

                                    III.    Discussion

           The petitioner contends in his § 2255 petition that United

  States v. Booker, 543 U.S. 220 (2005), should apply retroactively

  to his case because his sentence was based on enhancements not

  found by a jury.            Based on a review of the record and the

  applicable law, Magistrate Judge Seibert recommended that the

  petitioner’s § 2255 application be denied because the petitioner

  knowingly, intelligently, and voluntarily waived the right to

  collaterally attack his conviction when he pled guilty to Count Two

  of an indictment charging him with maintaining a residence for the

  distribution of cocaine base.             Specifically, the petitioner signed

  a plea agreement on February 11, 2002, which stated that he “waives

  his right to challenge his sentence or the manner in which it was

  determined in any collateral attack, including but not limited to,


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  a motion brought under Title 28, United States Code, Section

  2255.”1   Additionally, the magistrate judge found that regardless

  of petitioner’s waiver of the right to collaterally attack his

  conviction and sentence, Booker does not apply retroactively to

  collateral attacks.     See United States v. Morris, 429 F.3d 65 (4th

  Cir. 2005).

        Because    the    petitioner    knowingly,     intelligently,      and

  voluntarily waived the right to collaterally attack his conviction

  and because Booker does not apply retroactively in this case, the

  petitioner’s application for habeas corpus pursuant to § 2255 must

  be denied.

                                IV.   Conclusion

        This Court finds that the magistrate judge’s recommendation is

  not clearly erroneous and hereby AFFIRMS and ADOPTS the report and

  recommendation     of   the    magistrate    judge    in   its    entirety.

  Accordingly, petitioner’s motion to vacate, set aside, or correct

  his sentence pursuant to 28 U.S.C. § 2255 is DENIED.         It is further

  ORDERED that this civil action be DISMISSED and STRICKEN from the

  active docket of this Court.

        Finally, this Court finds that the petitioner was properly

  advised by the magistrate judge that failure to timely object to

  the report and recommendation in this action will result in a



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        The plea agreement was accepted and filed by this Court on
  February 12, 2002.

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  waiver of appellate rights.       Because the petitioner has failed to

  object, he has waived his right to seek appellate review of this

  matter.    See Wright v. Collins, 766 F.2d 841, 844-45 (4th Cir.

  1985).

        IT IS SO ORDERED.

        The Clerk is DIRECTED to transmit a copy of this memorandum

  opinion and order to the pro se petitioner and to counsel of record

  herein.   Pursuant to Federal Rule of Civil Procedure 58, the Clerk

  is DIRECTED to enter judgment on this matter.

        DATED:     November 13, 2007



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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